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                           EXHIBIT B
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                            AMENDED AND RESTATED
                     LIMITED LIABILITY COMPANY AGREEMENT

                                                OF

                                    RED RIVER TALC LLC

                                a Texas limited liability company

        This AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT
of Red River Talc LLC is declared and entered into by the undersigned, and shall be effective as
of [] (the “Effective Date”).

                                          ARTICLE I
                                         DEFINITIONS

       1.01 Specific Definitions. As used in this Agreement, the following terms have the
following meanings:

       “Affiliate” means, with respect to any Person, any other Person directly or indirectly
Controlling, Controlled By or Under Common Control with, such Person.

        “Agreement” means this Amended and Restated Limited Liability Company Agreement
(including any schedules, exhibits or attachments hereto) as amended, supplemented or modified
from time to time.

        “Assistant Secretary” shall have the meaning set forth in Section 3.04(c)(v).

        “Assistant Treasurer” shall have the meaning set forth in Section 3.04(c)(iv).

        “Associate” means, when used to indicate a relationship with a Person: (i) an entity or
organization for which the Person (A) is a director, general partner, member, manager or officer
or (B) beneficially owns, directly or indirectly, either individually or through an Affiliate, 10
percent or more of a class of voting ownership interests or similar securities of the entity or
organization; (ii) a trust or estate in which the Person has a substantial beneficial interest or for
which the Person serves as trustee or in a similar fiduciary capacity; (iii) the Person’s spouse or a
relative of the Person related by consanguinity or affinity who resides with the Person; or (iv) a
director, general partner, member, manager, officer or Affiliate of the Person.

       “Bankruptcy” means bankruptcy under any section or chapter of the Bankruptcy Code or
under any similar law or statute of the United States or any state thereof.

        “Bankruptcy Code” means title 11 of the United States Code, as amended.

        “Board of Managers” shall have the meaning set forth in Section 3.01.

        “Certificate” shall have the meaning set forth in Section 2.01.

        “CFO” shall have the meaning set forth in Section 3.04(c)(ii).

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        “Chief Legal Officer” shall have the meaning set forth in Section 3.04(c)(vi).

        “Code” means Internal Revenue Code of 1986, as amended.

        “Company” means Red River Talc LLC, a Texas limited liability company.

       “Controlling” means, with respect to any Person, the possession, directly or indirectly, of
the power to direct or cause the direction of the management and policies of another Person,
through the ownership of voting securities, by contract or otherwise. The terms “Controlled By”
and “Under Common Control” have correlative meanings.

        “Covered Person” shall have the meaning set forth in Section 3.08(a).

        “Effective Date” shall have the meaning set forth in the Preamble.

       “Encumbrance” means any mortgage, security interest, lien, pledge, equitable interest,
easement, option, right of first refusal or a restriction or interest similar to any of the foregoing of
any kind.

        “Legal Requirement” means any order, constitution, law, ordinance, regulation, statute or
treaty issued by any federal, state, local, municipal, foreign, international or multinational
governmental, administrative or judicial body or any principle of common law, in each case
binding on or affecting the referenced Person.

       “Majority in Interest of the Members” means Members whose Percentage Interests
aggregate to greater than 50% of the Percentage Interests of all Members, or in the event the
Company has a single Member, such sole Member.

        “Manager” means a member of the Board of Managers.

        “Members” means the Persons identified as currently being a Member on Schedule I
(Member Register) and all other Persons admitted as additional or substituted Members pursuant
to this Agreement from time to time, in each case so long as they remain Members. Reference to
a “Member” means any one of the Members if there is more than one or the sole Member if there
is only one.

        “Membership Interest” means the ownership interest of a Member in the Company (which
shall be considered personal property for all purposes), consisting of (i) such Member’s Percentage
Interest in the Company’s profits, losses, allocations and distributions pursuant to this Agreement
and the TBOC, (ii) such Member’s right to vote or grant or withhold consents with respect to
Company matters as provided in this Agreement and the TBOC and (iii) such Member’s other
rights and privileges as provided in this Agreement and the TBOC.

        “Officers” shall have the meaning set forth in Section 3.04(a).

       “Percentage Interest” means a Member’s share of the profits and losses of the Company
and the Member’s percentage right to receive distributions of the Company’s assets. The
Percentage Interest of each Member shall be the percentage set forth opposite such Member’s

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name on Schedule I, as such Schedule shall be amended from time to time in accordance with the
provisions of this Agreement. The combined Percentage Interest of all Members shall at all times
equal 100%.

       “Person” means any individual, corporation (including any non-profit corporation), general
or limited partnership, limited liability company, joint venture, estate, trust, benefit plan,
unincorporated organization, business, syndicate, sole proprietorship, association, organization,
labor union or other entity, association or governmental body.

        “President” shall have the meaning set forth in Section 3.04(c)(i).

       “Property” means any property, real or personal, tangible or intangible, including cash, and
any legal or equitable interest in such property.

        “Secretary” shall have the meaning set forth in Section 3.04(c)(v).

        “Secretary of State” shall mean the Secretary of State of the State of Texas.

      “TBOC” means the Texas Business Organizations Code as it may be amended, revised or
supplemented from time to time.

        “Transfer” means any sale, assignment, transfer, exchange, grant, hypothecation or other
transfer (including a transfer by operation of law), absolute or as an Encumbrance.

        “Treasurer” shall have the meaning set forth in Section 3.04(c)(iv).

        “Vice President” shall have the meaning set forth in Section 3.04(c)(iii).

        1.02     Interpretation. Unless the context shall require otherwise:

              (a)    Words importing the singular number or plural number shall include the
plural number and singular number respectively;

               (b)    Words importing the masculine gender shall include the feminine and
neuter genders and vice versa;

              (c)     References to “include,” “includes” and “including” shall be deemed to be
followed by the phrase “without limitation”;

               (d)     Reference in this Agreement to “herein,” “hereby” or “hereunder,” or any
similar formulation, shall be deemed to refer to this Agreement as a whole, including the schedules
and exhibits hereto;

              (e)   References to documents and agreements shall include such documents and
agreements as amended from time to time; and

              (f)     The headings of this Agreement are for reference only and shall not be
deemed to form a part of the text or be used in the construction or interpretation of this Agreement.


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Unless otherwise indicated, all references to “Section” or “Sections” refer to the corresponding
Section or Sections of this Agreement.

                                            ARTICLE II
                                           FORMATION

         2.01 Formation. The Company was formed as a Texas limited liability company by
filing a certificate of formation (the “Certificate”) with the Secretary of State, along with the filing
with the Secretary of State of a Certificate of Divisional Merger pursuant to which [Holdco
(Texas)] LLC, a Texas limited liability company, effected a divisional merger pursuant to which
the Company was created.

        2.02 Name. The Company will conduct its business under the name set forth in the
preamble of this Agreement or such other names as the Board of Managers may select from time
to time that comply with applicable Legal Requirements.

        2.03 Purpose. The purpose of the Company is to transact any and all lawful business for
which a limited liability company may be formed under the TBOC and any other business or
activity (including obtaining appropriate financing) that now or in the future may be necessary,
incidental, proper, advisable or convenient to accomplish the foregoing purposes as determined by
the Board of Managers and that is not forbidden by any Legal Requirement.

        2.04 Principal Office in the United States; Other Offices. The principal office of the
Company in the United States shall be at [], or at such other place as the Board of Managers may
designate from time to time, which need not be in the State of Texas. The Company may have such
other offices as the Board of Managers or any appropriate Officer designates from time to time.

       2.05 Registered Agent and Office. The Company’s registered agent for the service of
process and the registered office shall be as reflected in the Certificate. The Board of Managers,
from time to time, may change the registered agent or office through appropriate filings with the
Secretary of State. In the event the registered agent ceases to act as such for any reason or the
address of the registered office shall change, the Board of Managers shall promptly designate a
replacement registered agent or file a notice of change of address.

      2.06 Term. The term of the Company shall be perpetual until dissolved and its affairs
wound up in accordance with this Agreement.

        2.07 Effect of Inconsistencies with the TBOC. The Members intend to be governed by
this Agreement even when it is inconsistent with, or different than, the non-mandatory provisions
of the TBOC, or any other non-mandatory Legal Requirement and the TBOC shall govern those
circumstances not addressed by this Agreement. To the extent any provision of this Agreement is
prohibited by or conflicts with the TBOC or other Legal Requirement, this Agreement shall be
considered amended to the smallest degree possible in order to make this Agreement effective. In
the event the TBOC or other Legal Requirement is subsequently amended or interpreted in such a
way to make valid any provision of this Agreement that was formerly invalid, the provision shall
be deemed valid from the effective date of such interpretation or amendment.



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        2.08 Authorized Persons. The Managers, the Officers and any person authorized in
writing by any of them shall each be authorized to act on behalf of the Company in regard to a
“filing instrument” within the meaning of the TBOC as permitted by the TBOC. Any Manager or
Officer may execute, deliver and file any certificates (and any amendments or restatements
thereof) necessary for the Company to qualify to do business in any jurisdiction in which the
Company may wish to conduct business.

     2.09 Title to Company Property. All of the Company’s Property shall be owned by the
Company as an entity and no Member shall have any ownership interest in such Property in such
Member’s individual name or right. The Company shall hold all of its Property in the name of the
Company and not in the name of any Member.

        2.10 Certificates. The Company shall not elect to treat any of its Membership Interests
as a “security” under Section 8-103 of the Uniform Commercial Code as is in effect in the State
of Texas or any other applicable jurisdiction, or elect to turn its uncertificated Membership
Interests into certificated Membership Interests.

                                   ARTICLE III
                            MANAGEMENT OF THE COMPANY

        3.01 Management by Board of Managers. Except as otherwise set forth herein, the
management and control of the business and affairs of the Company shall be vested in a governing
board (the “Board of Managers”). The Board of Managers shall be comprised of between one and
three individuals as determined by the Members, and the Members shall elect the members of the
Board of Managers from time to time. The Members, in their sole discretion, may remove any
Manager or the entire Board of Managers at any time with or without cause. If a vacancy occurs
on the Board of Managers, the Members may elect a successor or leave vacant the position.

        3.02 Authority and Duties of the Board of Managers and Officers. Subject to the
terms of this Agreement and any applicable Legal Requirement, the Board of Managers shall have
full power and authority to conduct, manage and control the business of the Company through the
Officers. Except to the extent provided herein, each Manager and Officer shall have a fiduciary
duty of loyalty and fiduciary duty of care similar to those of directors and officers of for-profit
corporations under the TBOC.

        3.03     Actions of the Board of Managers.

                (a)    Meetings. Meetings of the Board of Managers may be held at any time upon
the call of the President or any Manager by providing at least two days’ notice to each Manager,
unless such notice is waived by all of the Managers. A quorum shall exist for any meeting of the
Board of Managers if half or more of the Managers are in attendance. Attendance at a meeting
shall constitute a waiver of notice of the meeting by the Manager, unless the Manager attends the
meeting for the sole purpose of objecting to the lack of proper notice of the meeting. The Managers
may participate in and hold meetings by means of conference telephone, video conference or
similar communications equipment whereby all persons participating in the meeting can hear each
other.



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               (b)     Required Vote; Action by Written Consent. Any and all actions of the
Board of Managers shall be taken by the affirmative vote of a simple majority of the Managers in
attendance. In lieu of acting at a meeting and without notice, the Board of Managers may act by
the written consent of a simple majority of the Managers.

        3.04     Officers.

                (a)     Generally. The Board of Managers may appoint employees or agents as
officers from time to time (the “Officers”). The Officers shall be responsible for implementing the
decisions of the Board of Managers and for conducting the day-to-day activities of the Company
as determined by the Board of Managers. The Board of Managers may from time to time set the
limits of authority of the President and other Officers, including limits regarding operating
expenditures, capital expenditures, incurrence of debt, commencement or settlement of litigation
and compensation of Officers and employees. Any number of offices may be held by the same
Person.

                (b)     Appointment; Vacancies; Removal. All Officers of the Company shall
hold office until their successors are appointed or until their earlier death, resignation or removal.
Whenever any vacancies shall occur in any office by death, resignation, removal, increase in the
number of Officers, or otherwise, the same may be filled by the Board of Managers. In the
discretion of the Board of Managers, any Officer position may be left vacant. Any Officer
appointed by the Board of Managers may be removed with or without cause at any time in the sole
discretion of the Board of Managers. Such removal may be with or without prejudice to the
contract rights, if any, of the Person so removed. Appointment of an Officer shall not, of itself,
create contract rights.

               (c)    Officers; Delegation by the Board of Managers. To the extent the Board
of Managers appoints the following Officers, such Officers shall have the powers and duties set
forth below unless otherwise provided by the Board of Managers from time to time. Such other
Officers as the Board of Managers may appoint shall perform the duties and have the powers as
from time to time may be assigned to them by the Board of Managers. The Board of Managers
from time to time may delegate any of its powers and duties to any Officer, employee or agent of
the Company, including the power of delegation, for whatever period of time necessary or
desirable.

                         (i)     President. The president (the “President”) shall have responsibility
                 for the general and active day-to-day management of the business of the Company
                 and shall carry out all orders and resolutions of the Board of Managers. The
                 President may sign deeds, mortgages, bonds, contracts or other instruments, except
                 in cases where the execution thereof shall be expressly delegated by the Board of
                 Managers or by this Agreement to some other Officer or agent of the Company,
                 or shall be required by Legal Requirement to be otherwise executed. The President
                 shall also perform such other duties and may exercise such other powers as may
                 be assigned by this Agreement or prescribed by the Board of Managers from time
                 to time.



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                         (ii)   Chief Financial Officer. The chief financial officer (the “CFO”)
                 shall have custody of the funds of the Company as may be entrusted to his keeping
                 and account for the same. The CFO shall be prepared at all times to give
                 information as to the financial condition of the Company. The CFO shall also
                 generally exercise such other powers and perform such other duties as the
                 President delegates and the Board of Managers prescribes from time to time. The
                 duties of the CFO may also be performed by the Treasurer or any Assistant
                 Treasurer appointed by the Board of Managers from time to time.

                         (iii) Vice Presidents. Any vice president (each a “Vice President”), in
                 the order of seniority unless otherwise determined by the Board of Managers, shall
                 in the absence or disability of the President perform the duties and exercise the
                 powers of the President. Each Vice President shall perform the usual and
                 customary duties that pertain to such office. Each Vice President shall generally
                 assist the President by executing deeds, mortgages, bonds, contracts or other
                 instruments, except in cases where the execution thereof shall be expressly and
                 exclusively delegated by the Board of Managers or this Agreement to some other
                 Officer or agent of the Company or shall be required by Legal Requirement to be
                 otherwise executed. Each Vice President shall also generally exercise such other
                 powers and perform such other duties as are delegated to him by the President, as
                 the Board of Managers may further prescribe from time to time, or are indicated
                 by the specific title given to such Vice President upon his or her appointment.

                         (iv)    Treasurer. The treasurer (the “Treasurer”) shall have the custody
                 of the corporate funds and securities and shall keep full and accurate accounts of
                 receipts and disbursements in books belonging to the Company and shall deposit
                 all moneys and other valuable effects in the name and to the credit of the Company
                 in such depositories as may be designated by the Board of Managers. The
                 Treasurer shall have the authority to sign and issue surety bonds on behalf of the
                 Company, except in cases where the execution thereof shall be expressly and
                 exclusively delegated by the Board of Managers or this Agreement to some other
                 Officer or agent of the Company or shall be required by Legal Requirement to be
                 otherwise executed. The duties of the Treasurer may be performed by any assistant
                 treasurer (an “Assistant Treasurer”) appointed by the Board of Managers from
                 time to time. The duties of such Assistant Treasurers may be specified or limited
                 by the specific title given to such Assistant Treasurer upon his or her appointment.

                         (v)     Secretary. The secretary (the “Secretary”) shall perform such
                 duties as may be prescribed by the President, under whose supervision he or she
                 shall be. The Secretary shall have custody of the seal of the Company, if any, and
                 the Secretary shall have authority to affix the same to any instrument requiring it,
                 and when so affixed, it may be attested by the signature of the Secretary. The
                 Board of Managers or the President may give general authority to any other Officer
                 to affix the seal of the Company and to attest the affixing by his or her signature.
                 The Secretary shall ensure that all books, reports, statements, certificates and other
                 documents and records required by Legal Requirement to be kept or filed are
                 properly kept or filed, as the case may be. The duties of the Secretary may be

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                 performed by any assistant secretary (an “Assistant Secretary”) appointed by the
                 Board of Managers from time to time. The duties of such Assistant Secretaries
                 may be specified or limited by the specific title given to such Assistant Secretary
                 upon his or her appointment. The Secretary shall also generally exercise such
                 other powers and perform such other duties as are delegated to him or her by the
                 President and as the Board of Managers may further prescribe from time to time.

                         (vi)    Chief Legal Officer. The chief legal officer (the “Chief Legal
                 Officer”) shall perform such duties as may be prescribed by the Board of Managers
                 or the President, under whose supervision he shall be. The Chief Legal Officer
                 shall perform the usual and customary duties that pertain to such office and
                 generally exercise such other powers and perform such other duties as are
                 delegated to him by the President and as the Board of Managers may further
                 prescribe from time to time. The Chief Legal Officer shall generally assist the
                 President by executing deeds, mortgages, bonds, contracts or other instruments,
                 except in cases where the execution thereof shall be expressly and exclusively
                 delegated by the Board of Managers or this Agreement to some other Officer or
                 agent of the Company or shall be required by Legal Requirement to be otherwise
                 executed.

        3.05 Voting Securities Owned by the Company. Any Officer may execute on behalf
of the Company any contracts, powers of attorney, proxies, waivers of notice of meeting, consents
and other instruments any of which relate to securities or partnership or other interests owned or
held by the Company. Any Officer may, on behalf of the Company, vote in person or by proxy
any interest of any entity in which the Company owns securities or holds other interests and at any
meeting shall possess and may exercise any and all rights and powers incident to the ownership of
such securities or other interests, including delegating like powers upon any other Person.

         3.06 Compensation and Expenses. Except as provided in this Agreement or as
approved by the Board of Managers or, in the event the Board of Managers has a single Manager,
the Members, no Manager shall receive any salary, fee or other remuneration for services rendered
to or on behalf of the Company or otherwise in his or her capacity as a Manager. Any Manager
who is not an Officer or employee of the Company or any of its Affiliates shall receive
remuneration for services rendered to or on behalf of the Company or otherwise in his capacity as
Manager as approved by the Board of Managers, or in the event the Board of Managers has a single
Manager, the Members. Each Manager shall be reimbursed for all proper, direct expenses he or
she reasonably incurs on behalf of the Company in performing his or her duties as a Manager either
(a) in the Company’s sole discretion (as determined by the Board of Managers or, in the event the
Board of Managers has a single Manager, the Members) or (b) if such expenses are pre-approved
in writing, in either event upon submission of appropriate and all other reasonably requested
documentation.

        3.07 Other Activities of the Members and Agreements with Related Parties. Subject
to the provisions of any other agreement binding upon a Member, each Member, in its individual
capacity or otherwise, will be free to engage in, to conduct or to participate in any business or
activity whatsoever without any accountability, liability or obligation to the Company or, if then
applicable, to any other Member, even if such business or activity competes with or is enhanced

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by the business of the Company. The Board of Managers, in the exercise of its power and authority
under this Agreement, may contract and otherwise deal with or otherwise obligate the Company
to entities in which a Member may have an ownership or other financial interest.

        3.08     Indemnification; Exculpation.

                (a)     General. Every Person who was or is a party or is threatened to be made a
party to any threatened, pending or completed action, suit or proceeding, whether civil, criminal,
administrative or investigative by reason of the fact that such Person is, or was at the time of the
alleged event giving rise to a claim for indemnity, (i) a Member, Manager or Officer, (ii) an
Affiliate of a Member, (iii) an employee, agent, fiduciary or trustee of the Company, (iv) an officer,
director, manager, employee, agent, fiduciary or trustee of a Member or (v) serving at the request
of the Company or a Person it Controls (directly or indirectly) as an officer, director, manager,
employee, agent, fiduciary or trustee of another Person (each a “Covered Person”) (except a
Covered Person shall not include a Person providing on a fee-for-service basis trustee, fiduciary
or custodial services), shall be indemnified by the Company against any and all reasonable costs
and expenses, judgments, fines and amounts paid in settlement actually and reasonably incurred
by the Covered Person in connection with such action, suit or proceeding if the Covered Person
acted in good faith and in a manner the Covered Person reasonably believed to be in or not opposed
to the best interests of the Company, and, with respect to any criminal action or proceeding, had
no reasonable cause to believe the Covered Person’s conduct was unlawful. The resolution of any
action, suit or proceeding by judgment, order, settlement, conviction or upon a plea of nolo
contendere or its equivalent, shall not, of itself, create a presumption that the Covered Person did
not act in good faith and in a manner which the Covered Person reasonably believed to be in or
not opposed to the best interests of the Company, and, with respect to any criminal action or
proceeding, shall not, of itself, create a presumption that the Covered Person had reasonable cause
to believe that the Covered Person’s conduct was unlawful.

               (b)     Advances. Expenses (including attorneys’ fees) incurred by a Covered
Person with respect to any action, suit or proceeding of the nature described in the preceding
paragraph may be paid by the Company, in the sole discretion of the Board of Managers, and, if
such Covered Person is a Member, Manager or Officer, then such expenses shall be paid by the
Company, in advance of the final disposition of such action, suit or proceeding upon receipt of an
undertaking by or on behalf of the Covered Person to repay such amount if it shall ultimately be
determined that the Covered Person is not entitled to be indemnified by the Company as authorized
in this Section 3.08. In addition, the Company may elect at any time to discontinue advancing
expenses to a Covered Person (other than a Member, Manager or Officer) if such advancement is
determined by the Company, in its sole discretion, not to be in the best interest of the Company.

               (c)     Indemnity Limited to Assets. Indemnification under this Section 3.08
shall be made only out of the assets of the Company. Neither any Member nor any Manager shall
be personally liable for such indemnification, and they shall have no obligation to contribute or
loan any monies or Property to the Company to enable it to provide such indemnification.

               (d)    Insurance. The Company may purchase and maintain (or reimburse any
Member or its Affiliates the cost of) insurance on behalf of any Covered Person, and any other
Person that the Board of Managers determines, against any liability that may be asserted against

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or expense that may be incurred by such Persons in connection with the Company’s activities or
such Persons’ activities on behalf of the Company, regardless of whether the Company would have
the power to indemnify such Persons against such liability or expense under this Agreement.

               (e)    Other Contracts and Procedures. The Company may enter into indemnity
contracts with Covered Persons and such other Persons as the Board of Managers shall determine
and adopt written procedures pursuant to which arrangements are made for the advancement of
expenses and the funding of obligations under this Section 3.08 and containing such other
procedures regarding indemnification as are appropriate.

                (f)     Exculpation. Notwithstanding anything in this Agreement to the contrary,
to the full extent permitted by the TBOC or any other applicable Legal Requirement currently or
hereafter in effect, no Member, Manager or Officer will be personally liable to the Company or
any Member, Manager or Officer for or with respect to any act or omission by such Member,
Manager or Officer in such capacity. Any elimination or modification of this Section 3.08(f) will
not adversely affect any right or protection of a Member, Manager or Officer existing prior to such
elimination or modification.

        3.09     Approval of Certain Contracts and Transactions.

               (a)    This Section 3.09 applies to a contract or transaction between the Company
and (i) one or more Managers or Officers, or one or more Affiliates or Associates of one or more
Managers or Officers, or (ii) an entity or organization in which one or more Managers or Officers,
or one or more Affiliates or Associates of one or more Managers or Officers, is (A) a director,
general partner, member, manager or officer or (B) has a financial interest.

                (b)     The Company may enter into a contract or transaction described in Section
3.09(a) if one of the following conditions is satisfied:

                         (i)     the material facts as to the relationship or interest described in
                 Section 3.09(a) and as to the contract or transaction are disclosed to or known by
                 the Board of Managers and the Board of Managers in good faith authorizes the
                 contract or transaction by the approval of a majority of the disinterested Managers
                 or, if there is only one disinterested Manager, the sole disinterested Manager,
                 regardless of whether the disinterested Managers or Manager constitutes a
                 quorum; or

                        (ii)    the material facts as to the relationship or interest described in
                 Section 3.09(a) and as to the contract or transaction are disclosed to or known by
                 the Members and the Members in good faith approve the contract or transaction
                 by vote of the Members; or

                         (iii) the contract or transaction is fair to the Company when the contract
                 or transaction is authorized, approved or ratified by the Board of Managers or the
                 Members.

             (c)     Interested Managers may be included in determining the presence of a
quorum at a meeting of the Board of Managers that authorizes the contract or transaction.

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               (d)     A Person who has the relationship or interest described in Section 3.09(a)
may (i) be present at or participate in and, if the Person is a Manager, may vote at a meeting of the
Board of Managers that authorizes the contract or transaction or (ii) sign, in the Person's capacity
as a Manager, a written consent of the Board of Managers to authorize the contract or transaction.

                                  ARTICLE IV
                    RIGHTS AND OBLIGATIONS OF THE MEMBERS

        4.01 Limitation of Liability. Except as provided by the provisions of the TBOC that
may not be modified by this Agreement or waived under any Legal Requirement, no Member shall
be liable for any obligation of the Company solely by reason of being or acting as a Member. The
failure of the Company to observe any formalities or requirements relating to the exercise of its
powers or management of its business or affairs under this Agreement or the TBOC shall not be
grounds for imposing liability on a Member for liabilities of the Company.

        4.02 Compensation of the Members. A Member shall be reimbursed for all proper,
direct expenses it reasonably incurs on behalf of the Company in performing its duties as a Member
upon delivery by such Member to the Company of a detailed invoice (including amounts paid to
any Person to perform services for the Company).

        4.03 Profits and Losses; Distributions. Subject to the Code, if the Company has more
than one Member under the Code, each item of income, gain, loss, deduction or credit of the
Company, for each fiscal year of the Company, shall be allocated among the Members in
proportion to their respective Percentage Interests. Except as prohibited by provisions of the TBOC
that may not be modified by this Agreement or waived under applicable Legal Requirements, the
Company may make distributions as determined by and in the sole discretion of the Board of
Managers; notwithstanding the foregoing, no distribution shall be made if such distribution would
violate Section 101.206 of the TBOC or any other applicable Legal Requirement.

         4.04 No Nonvoting Ownership Interests. To the extent prohibited by section
1123(a)(6) of chapter 11 of the Bankruptcy Code, the Company will not issue nonvoting ownership
interests; provided, however, that the foregoing restriction (a) will have no further force or effect
beyond that required by section 1123 of the Bankruptcy Code, (b) will have force and effect only
for so long as section 1123 of the Bankruptcy Code is in effect and appliable to the Company, and
(iii) in all events may be amended or eliminated in accordance with the TBOC and any other
applicable Legal Requirements as from time to time may be in effect.

                                      ARTICLE V
                               MEETINGS OF THE MEMBERS

       5.01 No Required Meetings. The Members may, but shall not be required to, hold
annual, periodic or other formal meetings.

        5.02 Action by the Members. Action required or permitted to be taken at a meeting of
the Members may be taken without a meeting and without notice if the action is evidenced by a
written consent, approval or resolution describing the action taken. All decisions of the Members,
whether at a meeting or by written consent, approval or resolution, must be made or taken by a
Majority in Interest of the Members.
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                                       ARTICLE VI
                                    BOOKS AND RECORDS

        6.01 Maintenance of Books and Records. The Company may maintain at its principal
office, separate books of account for the Company that include a record of all costs and expenses
incurred, all charges made, all credits made and received and all income derived in connection
with the conduct of the Company and the operation of its business in accordance with this
Agreement.

         6.02 Access to Books, Records, etc. A Member or any of its agents or representatives,
at such Member’s own expense and upon reasonable notice during normal business hours, may
visit and inspect any of the properties of the Company (subject to reasonable safety requirements)
and examine and audit any information it may reasonably request and make copies of and abstracts
from the financial and operating records and books of account of the Company and its subsidiaries
and copies of any other documents relating to the businesses of the Company and its subsidiaries,
and discuss the affairs, finances and accounts of the Company and its subsidiaries with any
Manager, any other Member, any Officer and the independent accountants of the Company, if any,
all at such reasonable times and as often as such Member or any of its agents or representatives
may reasonably request.

         6.03 Reliance on Documents and Reports. The appropriate Officer shall cause to be
prepared and to be delivered to the Members by the Company any other reports or information
regarding the Company or its subsidiaries that a Majority in Interest of the Members requests. The
Board of Managers shall be fully protected in relying in good faith upon the records of the
Company and upon such information, opinions, reports or statements presented to the Company
by any of its Members, Officers or employees, or by any other Person as to matters the Board of
Managers reasonably believes are within such other Person’s professional or expert competence
and who has been selected with reasonable care by or on behalf of the Company (including,
without limitation, information, opinions, reports or statements as to the value and amount of the
assets, liabilities, profits or losses of the Company or any other facts pertinent to the existence and
amount of assets from which distributions to Members might properly be paid). In addition, the
Board of Managers may consult with legal counsel, accountants, appraisers, management
consultants, investment bankers and other consultants and advisors selected by them, and any
opinion of any such Person as to matters which the Board of Managers reasonably believes to be
within such Person’s professional or expert competence shall be full and complete authorization
and protection in respect of any action taken or suffered or omitted by the Board of Managers in
good faith and in accordance with such opinion.

                                  ARTICLE VII
                     TRANSFER OF MEMBERSHIP INTERESTS AND
                          ADMISSION OF ASSIGNEES AND
                             ADDITIONAL MEMBERS

        7.01 Transfer. A Member may effect a Transfer of all or a portion of its Membership
Interest either voluntarily or by operation of law. Notwithstanding any provision of the TBOC to
the contrary, upon the Transfer of a Membership Interest, the transferee shall be admitted
immediately as a Member without further action upon the completion of the Transfer. Upon the

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Transfer of all of a Member’s Membership Interest (other than the transfer of an Encumbrance),
the transferring Member shall cease to be a Member and, to the fullest extent permitted by Legal
Requirements, shall have no further rights or obligations under this Agreement, except that the
transferring Member shall have the right to such information as may be necessary for the
computation of the transferring Member’s tax liability. In connection with a Transfer of all of the
Membership Interests in the Company, the transferee shall be admitted as a Member immediately
before the transferring Member ceases to be a Member and the Company shall continue without
dissolution.

       7.02 Admission of Additional Members. The Members may admit additional Members
from time to time and determine the capital contributions to be made by such additional Members.

       7.03 Member Register. Schedule I will be updated by the Secretary or any Assistant
Secretary for the name, business address and Percentage Interest of each additional or substituted
Member of the Company, and any such update will not be considered to be an “amendment” of
this Agreement.

                                     ARTICLE VIII
                              DISSOLUTION AND WINDING UP

         8.01 Dissolution. The Company shall be dissolved and its affairs wound up, only upon
the first to occur of the following: (a) the written consent of a Majority in Interest of the Members;
(b) the termination of the legal existence of the last remaining Member or the occurrence of any
other event that terminates the continued membership of the last remaining Member in the
Company unless the business of the Company is continued in a manner permitted by this
Agreement or the TBOC; or (c) the entry of a decree of judicial dissolution under Section 11.301
of the TBOC that has become final. Anything in this Agreement to the contrary notwithstanding,
the Bankruptcy of a Member shall not cause such Member to cease to be a Member and upon the
occurrence of a Bankruptcy of a Member, the business of the Company shall continue without
dissolution. The existence of the Company as a separate legal entity shall continue until the
cancellation of the Certificate as provided in the TBOC.

        8.02 Effect of Dissolution. Upon dissolution, the Company shall continue solely for the
purpose of winding up its affairs in an orderly manner, liquidating its assets (with sufficient time
allowed to minimize the losses normally associated with liquidation) and satisfying the claims of
its creditors and the Members, and neither the Board of Managers nor any Member shall take any
action with respect to the Company that is inconsistent with the winding up of the Company’s
business and affairs, until such time as the Company’s Property has been distributed pursuant to
this Section 8.02 and the existence of the Company has been terminated pursuant to the TBOC.
The Officers, or, if there are none, the Managers, or, if there are none, the Members, shall be
responsible for overseeing the winding up of the Company. The Persons winding up the Company
shall take full account of the Company’s Property and liabilities and shall cause as soon as
reasonably practicable the Company’s Property or the proceeds from the sale or disposition
thereof, to the extent sufficient therefor, to be applied and distributed, to the maximum extent
permitted by any applicable Legal Requirement and notwithstanding anything in this Agreement
to the contrary, in the following order (without duplication):


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                (a)      First, to creditors, including Members and their Affiliates who are creditors,
in satisfaction of the liabilities of the Company (whether by payment or reasonable provision for
payment); and

                 (b)   Second, to the Members in proportion to their Percentage Interests.

       8.03 No Restoration of Capital Account. In no event shall a Member be required to
contribute additional capital to the Company, upon the liquidation of the Company or at any other
time.

         8.04 Winding Up and Certificate of Termination. The winding up of the Company
shall be completed when all debts, liabilities and obligations of the Company have been paid and
discharged or reasonably adequate provision therefor has been made, and all of the remaining
Property of the Company has been distributed to the Members. Upon the completion of winding
up of the Company, a certificate of termination shall be delivered to the Secretary of State for
filing. The certificate of termination shall set forth the information required by the TBOC.

                                         ARTICLE IX
                                       MISCELLANEOUS

      9.01 Amendment. This Agreement may be amended from time to time only by a written
agreement executed by a Majority in Interest of the Members.

        9.02 Governing Law; Signatures and Records. This Agreement and the rights and
duties of the Members arising under this Agreement shall be governed by, and construed in
accordance with, the laws of the State of Texas, without reference to the conflict of laws rules
thereof that would call for the application of the laws of any other jurisdiction. Any signature on
this Agreement, and any certificate or other document or agreement which the Company is
authorized to issue or execute pursuant to this Agreement, may be a facsimile, a conformed
signature or an electronically transmitted signature. Any consent, approval or resolution
transmitted by electronic transmission by a Manager, Member or a Person or Persons authorized
to act for a Member shall be deemed to be written and signed for purposes of this Agreement.
Unless a Member expressly requests otherwise, all notices, disclosures, authorizations,
acknowledgements and other documents required to be provided by any other Member or the
Company or related to the Company, including its operation, governance and internal affairs, may
be transmitted electronically to such Member. The Company may maintain a copy of this
Agreement, all other information required to be maintained by the TBOC and all of its other
records in electronic or any other non-written form that is capable of conversion into written form
within a reasonable time.

       9.03 Rights of Creditors and Third Parties Under Agreement. This Agreement is
declared and entered into by the Members for the exclusive benefit of the Company, the Members,
the Managers and their successors and assignees, and is not intended for the benefit of any creditor
of the Company or any other Person. Except and only to the extent required by a Legal
Requirement, no such creditor or other Person shall have any rights under this Agreement or any
agreement between the Company and the Members with respect to any capital contribution.



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     9.04 Successors and Assigns. This Agreement shall be binding upon and benefit the
Members and their successors and assigns.

        9.05 Severability. The invalidity or unenforceability of any provision of this Agreement
shall not affect the validity or enforceability of its other provisions. Following a determination by
a court of competent jurisdiction that any provision of this Agreement is invalid or unenforceable,
the Members shall negotiate in good faith new provisions that, as far as legally possible, most
nearly reflect the intent of the Members originally expressed herein and that restore this Agreement
as nearly as possible to its original intent and effect.

      9.06 Entire Agreement. This Agreement represents the entire declaration and
agreement by the Members.

       9.07 Construction. Every covenant, term and provision of this Agreement shall be
construed simply according to its fair meaning and not strictly for or against any party.


                                    [Signature Page Follows]




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        IN WITNESS WHEREOF, the sole Member has executed this Agreement as of the
Effective Date.



                                                     [New Intermediate Holding Corp], a New
                                                     Jersey corporation


                                                     By:
                                                           Name: []
                                                           Title: []




                 [Signature Page to Limited Liability Company Agreement of Red River Talc LLC]
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                                   SCHEDULE I – MEMBER REGISTER

                 To the Amended and Restated Limited Liability Company Agreement

                                                             of

                          Red River Talc LLC (a Texas limited liability company)


                                                                              Percentage   Dates of
  Member Name and Address
                                                                              Interest     Admission/Departure

  [New Intermediate Holding Corp] (a New Jersey corporation)
  One Johnson & Johnson Plaza
  New Brunswick, NJ 08933
                                                                              100%                 []
  Received interest upon formation in connection with the divisional merger
  of [Holdco (Texas)] LLC, a Texas limited liability company, into three
  newly created Texas limited liability companies, one of which was the
  Company




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